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lN THE UNI'I`ED STATES DISTRIC'I` COURT
FOR THE DISTRIC'I` OF MARYLAND

 

WlKIMEDlA FOUNDAT|ON,
Plaimiff

v_ Hon. T.S. Ellis. lll

NATloNAL SECUR|TY AGENCY/ lC$ivil A;\iozn ¥o.
CENTRAL sECuRlTY sERviCE, er al., '°V'O 66 - SE

Defendants.

 

 

_QMB

Upon consideration of` the parties’ Joint Motion to Set a Revised Schedu|e. it is hereby
ORDERED that the following schedule is adopted for the parties’ remaining briefs and oral
argument:

l. Def`endants’ reply shall be filed by Friday, February 15, 2019.

2. Plaintifi`s surreply shall be filed by Friday. March 8. 2019.

3. Def`endants’ surreply shall be filed by Friday, March 22, 2019.

4. Oral argument will take place on Friday, April 5, 20|9.
SO ORDERED.

Dated: z / /
T. S. Ellis, III

United States D' trict Judge

